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                               UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEBRASKA
Denise M. Lucks                         OFFICE OF THE CLERK                                          M. Therese Bollerup
Clerk of Court                                   www.ned.uscourts.gov                                Chief Deputy Clerk


   TO:            The Honorable Judge Smith Camp

   FROM:          Clerk, U.S. District Court
                  Laura Coyle

   DATE:          September 29, 2015

   SUBJECT:       8:14cr371 USA v. Esther C. Durham

   A party, who has been given permission to proceed in forma pauperis or who is financially unable
   to obtain an adequate defense in a criminal case, has filed a notice of appeal. Pursuant to FRAP
   24(a), a party may proceed on appeal in forma pauperis without further authorization unless the
   district judge certifies that the appeal is not taken in good faith or finds that the party is otherwise
   not entitled to proceed on appeal in forma pauperis. The district judge shall state in writing the
   reasons for such a certification or finding.

   Please advise the clerk's office of how you intend to proceed so that we may process this appeal:

             X    No order will be entered in this direct criminal appeal, and the party is permitted to
                  proceed on appeal in forma pauperis.
                  An order will be entered finding that the party is not entitled to proceed in forma
                  pauperis.
                  An order will be entered, and the party is permitted to proceed on appeal in forma
                  pauperis.
                  An order will be entered in this § 2254 or § 2255 case regarding certificate of
                  appealability.

           Dated this 30th day of September, 2015.

                                                                  s/Laurie Smith Camp
                                                                 Chief United States District Judge

                       Additional Requirement for State Habeas or § 2255 Cases

   Pursuant to Rule 22(b) of the Federal Rules of Appellate Procedure and 28 U.S.C. § 2253 (c), the
   district judge who rendered the judgment shall either issue a certificate of appealability or state
   the reasons why such a certificate should not be issued.

   Transmission of the notice of appeal to the Court of Appeals will be delayed until this court rules
   on the party's in forma pauperis status and the certificate of appealability.

                                                         Forms-Appeal-Memo_IFP_Prisoner_to_Judge_Criminal
                                                                                   Approved Date: 12/22/14



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